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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                                      )
    UNITED STATES OF AMERICA,                         )
                                                      )            Criminal No. 1:21-cr-00015
                         v.                           )
                                                      )
    KELLY MEGGS,                                      )
                                                      )
                   Defendant.                         )
                                                      )

      DEFENDANT KELLY MEGGS’S REPLY IN SUPPORT OF HIS MOTION TO
                 TRANSFER VENUE OR CONTINUE TRIAL

        The government claims the hearings conducted by the U.S. House Select Committee to

Investigate the January 6th Attack on the United States Capitol, “are not about them, nor have

the hearings focused on them specifically.” Opp. at 8-9 (July 26, 2022) (ECF No. 206). Yet, the

Select Committee’s July 12, 2022, public hearing was literally about the Oath Keepers. As Rep.

Jamie Raskin (D-Md) stated, “As we’ll see, Donald Trump’s 1:42 a.m. Tweet electrified and

galvanized his supporters and, especially the dangerous extremists in the Oath Keepers, the

Proud Boys, and the other racists and white nationalist groups spoiling for a fight against the

government.” 1

        The government wholly fails to address how the Select Committee’s work does not hold

any potential for prejudice against Mr. Meggs or his co-defendants. In United States v. Nordean,

No. 21-cr-175, the so-called Proud Boys case, District Judge Timothy Kelly granted a motion

requesting continuance so as to avoid prejudicial publicity due to the Select Committee’s

investigation as well as to allow the Government and the Nordean defendants an opportunity to



1
 Opening Statements, Press Release, Select Committee (July 12, 2022), available at
https://january6th.house.gov/news/press-releases/thompson-cheney-murphy-raskin-opening-statements-select-
committee-hearing.
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review potentially relevant transcripts that are expected to be released after the conclusion of the

Committee’s hearing process.

        Without any supporting evidence, the government asserts here that even though they

conceded that the Select Committee’s hearings have a very high probability of prejudice against

the Nordean defendants, those same hearings provide no potential for prejudice to the Rhodes

defendants. See Opp. at 7 (July 26, 2022) (ECF No. 206). The government should not be

permitted to contradict itself in this case. In Nordean, the government conceded that the timing

of the hearing held significant prejudicial potential for the Nordean defendants because the

actions of the defendants in Nordean were specifically discussed by the Committee. The

Committee has explicitly referred to the actions of the Oath Keepers both during Committee

hearings as well as in tweets and press releases relating to the hearings. Members of the

Committee have consistently alleged an overlap between the Oath Keepers and the Proud Boys.

Again, Rep. Raskin (D-Md), has long alleged a formal alliance between the Oath Keepers and

Proud Boys, and has most recently claimed that Enrique Tarrio, a Nordean defendant,

communicated with Mr. Meggs’s lead co-defendant Elmer Stewart Rhodes to coordinate the

actions of the Oath Keepers with those of the Proud Boys in a group chat prior to the events of

January 6, 2021. 2 Congressman Raskin also alleged on national television that Mr. Meggs

declared an official alliance between the Proud Boys and the Oath Keepers on December 19th at

10:22 A.M after speaking with Mr. Tarrio on the phone. 3 Similarly, the Committee played Oath

Keepers communications from January 6, 2021, and the Committee specifically stated that this




2
  See Laura Italiano, The January 6 investigators obtained a video of Roger Stone reciting the Proud Boys’
‘Fraternity Creed,’ the first step for initiation to the extremist group, BUSINESS INSIDER (July 12, 2022)
https://www.businessinsider.com/roger-stone-proud-boys-fraternity-creed-video-january-6-committee-2022-7.
3
  See Here’s every word from the seventh Jan. 6 committee hearing on its investigation, NPR, (July 12, 2022)
https://www.npr.org/2022/07/12/1111123258/jan-6-committee-hearing-transcript.
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information was gathered from a recording from one of the defendants in this matter, Jessica

Watkins, at the June 21, 2022 Committee hearing. 4

        Most importantly, recent publications surrounding the Select Committee and its hearings

suggest that the Select Committee may have and intends to make public information concerning

the Oath Keepers that the government has yet to obtain, and thus the Rhodes Defendants have

yet to receive, that is necessarily material to their case. 5 The Select Committee has interviewed

multiple witnesses and asked questions specific to the alleged actions of the Oath Keepers prior

to and on January 6, 2021, including sworn testimony from Kellye SoRelle. 6 The Nordean Court

noted that relevant interview transcripts are expected to be released in early September, and

further found that the existence of such evidence combined with the high likelihood of prejudice

relating to the recent hearing which focused on the actions of the defendants established the good

cause required to grant a continuance.

        Finally, the government claims that defense counsel’s scheduling conflict – another trial

scheduled to occur at the same time as the trial in the instant matter – does not warrant a

continuance because, “the government intends to inform Judge McFadden of its lack of

opposition to Defendant Klein’s motion to be tried separately from his co-defendants for the sole

purpose of allowing Mr. Woodward to be available in the present case.” Opp. at 14 (July 26,

2022) (ECF No. 206). At the time of filing, however, the government has made no such



4
  See Maureen Chowdhury et. al, Jan. 6 committee holds eighth hearing, CNN, https://www.cnn.com/politics/live-
news/january-6-hearings-july-21/h_fd06d12f0f7fce66f32bcd8e39e882b5 (Last Updated July 22, 2022) (“The House
select committee played clips from a Jan. 6, 2021, recording of Oath Keepers discussing former President Donald
Trump’s tweets on a walkie-talkie app[.]”).
5
  See Kyle Cheney, Jan. 6 committee tees up 20 witness transcripts for DOJ, POLITICO (July 28, 2022),
https://www.politico.com/news/2022/07/28/jan-6-witness-transcripts-doj-00048668.
6
  Portions of Kellye SoRelle’s interview with the Committee was shown during the July 12, 2022 Committee
Hearings. See Laura Italiano, The January 6 investigators obtained a video of Roger Stone reciting the Proud Boys’
‘Fraternity Creed,’ the first step for initiation to the extremist group, BUSINESS INSIDER (July 12, 2022)
https://www.businessinsider.com/roger-stone-proud-boys-fraternity-creed-video-january-6-committee-2022-7
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representation to Judge McFadden and instead opposed Mr. Klein’s motion to sever and his co-

defendants’ motion to continue their own trial. The government is playing games by waiting to

see whether this Court grants a continuance and then will decide whether to grant a continuance

in defense counsel’s other case. Tellingly, the government does not address the scheduling

conflict defense counsel has in both cases – the anticipated birth of his child in October. Given

that Mr. Meggs and all of his co-defendants have consented to a continuance, the government

cannot rationally justify its insistence on proceeding to trial as against Mr. Meggs in September.

                                [SIGNATURE ON NEXT PAGE]
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Dated: August 1, 2022            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        On August 1, 2022, the undersigned hereby certifies that a true and correct copy of the

foregoing was electronically filed and served via the CM/ECF system, which will automatically

send electronic notification of such filing to all registered parties.

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